     Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 1 of 12



                  IN THE UNITED STATES DISTRICT COURT FOR
                THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
AMBER AYRES, et ux.,
                                    *
     Plaintiffs,
v.                                  *       CIVIL NO.: WDQ-04-CV-4068

MAYOR AND CITY COUNCIL OF           *
THE DISTRICT OF COLUMBIA,
et al.,                             *

     Defendants.                    *

*    *      *      *     *     *    *       *   *     *    *      *     *

                       MEMORANDUM OPINION AND ORDER

     Amber Ayres (the “Plaintiff”), individually and as wife and

guardian of Richard Ayres (“Ayres”), a disabled adult, has sued

Darrell Sellers, John Harley, the District of Columbia (the

“District”), the Director of the District’s Department of

Transportation (the “Director”), the Secretary of the United

States Department of Transportation (the “Secretary”) and the

United States of America for negligence in connection with a

January 3, 2002 motor vehicle accident.          Pending is the

District’s motion to dismiss or for summary judgment on Counts

III and IV or to transfer this lawsuit to the District of

Columbia.   Also pending is the United States’ motion to dismiss

Counts V, VI and VII.        For the following reasons, the District’s

motion to dismiss Counts III and IV will be granted.           The United

States’ motion to dismiss Counts V, VI and VII will also be

granted.

                                        1
       Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 2 of 12



I.   Background

       On January 3, 2002 Ayres was severely injured in a traffic

accident on Interstate 295 (“I-295") in the District of Columbia.

Complaint, ¶ 5.     Ayres was driving northbound on I-295 when

Darrell Sellers, driving south on I-295, lost control of his car,

crossed the median separating northbound and southbound traffic

and collided with John Harley in the left lane of northbound I-

295.    Id.   Harley was killed instantly and his car was propelled

into Ayres’s vehicle in the right lane.        Id.   As a result of the

collision, Ayres suffered severe head and facial injuries that

have left him disabled.      Id.

       In Counts III, IV, V and VI of the Complaint, the Plaintiff

alleges that Ayres’ injuries were the result of the negligence of

the District, the Director, the Secretary and the United States

in designing, constructing and maintaining I-295.          Specifically,

the Plaintiff alleges that the Defendants were negligent in not

providing: 1) guardrails or other lane dividers; 2) a median with

sufficient size, grade or surface type to prevent cross-over

collisions; or 3) warnings of the danger of cross-over

collisions.    In Count VII, the Plaintiff alleges that Defendants’

negligence resulted in a loss of consortium to Amber Ayres.

Plaintiff seeks $25 million in damages for economic and non-

economic damages.

       Plaintiff has conceded that Counts IV, VI and VII as to the


                                     2
       Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 3 of 12



United States should be dismissed.        Plaint. Opp. to District’s

Mot. to Dismiss, p. 19; Plaint. Opp. to United States’ Mot. to

Dismiss, p. 2.     The District has moved to dismiss Count III

pursuant to Federal Rule of Civil Procedure 12(b)(6) and for

summary judgment under Rule 56.       In the alternative, the District

has moved to transfer the case to the District Court for the

District of Columbia pursuant to 28 U.S.C. § 1391(b)(2) and §

1404(a).    The United States has moved to dismiss Count V under

Rule 12(b)(1) for lack of subject matter jurisdiction and for

failure to state a claim under Rule 12(b)(6).



II.   Analysis

A.    The District’s Motion to Dismiss or for Summary Judgment

     Under Rule 12(b)(6), a motion to dismiss should be granted “if

it is clear that no relief could be granted under any set of

facts that could be proved consistent with the allegations.”

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002), (citing

Hishon v. King & Spalding, 467 U.S. 69, 73 (1984)); Mylan

Laboratories, Inc. v. Raj Matkari, et. al., 7 F.3d 1130, 1134

(4th Cir. 1993).    All allegations are treated as true, and the

complaint is viewed in the light most favorable to the plaintiff.

Mylan, 7 F.3d at 1134.

       In deciding a Rule 12(b)(6) motion, the Court will consider

the facts stated in the complaint and any attached documents.


                                     3
     Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 4 of 12



Biospherics, Inc., v. Forbes, Inc., 989 F.Supp. 748, 749 (D.Md.

1997), aff’d, 151 F.3d 180 (4th Cir. 1998)). The Court may also

consider documents referred to in the complaint and relied upon

by the plaintiff in bringing the action.      Id.

     The District contends that Count III should be dismissed

because: 1) the District is immune from this lawsuit because its

actions in designing, constructing and maintaining I-295 were

discretionary acts; and 2) Plaintiff failed to notify the

District of her intent to sue within six months of the accident

as required by D.C. Code § 12-309.



     1.   The District’s Immunity from Suit

     The District argues that highway design, planning and

improvement are discretionary governmental functions and that

under District law, the District may not be sued for

discretionary acts.    Plaintiff argues in response that because

the law of the District bars suit against the District, it

violates Maryland public policy and therefore cannot be enforced

by a Maryland court.   Accordingly, Plaintiff argues for the

application of Maryland law.

     Maryland follows the traditional rule of lex loci delicti in

deciding conflict of law questions.      Motor Club of America

Insurance Co. v. Hanifi, 145 F.3d 170 (4th Cir. 1998); Benn v.

Seventh-Day Adventist Church, 304 F.Supp.2d 716 (D. Md. 2004);


                                   4
        Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 5 of 12



Phillip Morris v. Angeletti, 752 A.2d 200 (Md. 2000); Hauch v.

Connor, 295 Md. 120 (Md. 1983); Sherrod v. Achir, 149 Md. App.

640 (Md. App. 2003).      Maryland courts, therefore, will apply the

substantive tort law of the jurisdiction where the wrong occured.

Id.

        Maryland courts may refuse to enforce the law of a foreign

jurisdiction when that law violates Maryland public policy.

Hauch, 295 Md. 120; Harford Mutual Insurance Co. v. Bruchey, 248

Md. 669 (Md. 1968); Black v. Leatherwood, 92 Md. App. 27 (Md. Ct.

Spec. App. 1992); Linton v. Linton, 46 Md. App. 660 (Md. Ct.

Spec.    App. 1980).    Maryland public policy is “no more and no

less than what is believed by the courts and the legislature to

be in the best interest of the citizens of [Maryland].”            Linton,

46 Md. App. at 663.      Maryland courts have found that

determination of public policy is normally the function of the

legislative branch. Hanifi, 145 F.3d at 180; Bethlehem Steel

Corp. v. G.C. Zarnas and Co., Inc. 304 Md. 183, 190 (Md. 1985);

Jones v. Malinowski, 299 Md. 257, 273 n. 4, 473 A.2d 429 (Md.

1984).

        Maryland public policy is not violated when the foreign law

is merely different from Maryland law.         Hanifi, 145 F.3d at 180;

Bruchey, 248 Md. at 676.       Instead, the party seeking to overrule

the principle of lex loci delicti on public policy grounds must

carry the “heavy burden” of showing that the foreign law violates

                                      5
     Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 6 of 12



a powerful public policy interest.      Leatherwood, 92 Md. App. at

44; see also Hanifi, 145 F.3d 170; Bruchey, 248 Md. 669; Jacobs

v. Adams, 66 Md. App. 779 (Md. Ct. Spec. App. 1986).        As a

result, Maryland courts have been reluctant to ignore the lex

loci delicti rule on public policy grounds.       Leatherwood, 92 Md.

App. at 43 (New Jersey’s lack of a cap on non-economic damages

not a sufficient violation of Maryland public policy despite

Maryland’s statutorily imposed cap); see also Hanifi, 145 F.3d

170 (New York statute imposing vicarious liability for negligence

on owners of cars registered in New York not a sufficient

violation of Maryland public policy where Maryland case law

required proof of owner’s negligence); Jacobs, 66 Md. App. 779

(District’s no-fault insurance law not a sufficient violation of

Maryland public policy where Maryland lacked a no-fault scheme);

Rhee, 74 Md. App. 214 (New Jersey’s lack of interspousal immunity

insufficient violation of Maryland public policy where Maryland

maintained interspousal immunity); accord Linton, 92 Md. App. 27.

Maryland courts generally will not overrule the principle of lex

loci delicti unless there is a contrary Maryland statute.

Hanifi, 145 F.3d at 180.

     Under District of Columbia case law, the District may not be

sued for discretionary decisions.      Pace v. District of Columbia,

498 A.2d 226, 228 (D.C. 1985); Wade v. District of Columbia, 310

A.2d 857 (D.C. 1970).    Discretionary decisions “involve policy

                                   6
        Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 7 of 12



determinations, where no statutory or regulatory requirements

limit the exercise of policy discretion.”          Pace, 498 A.2d at 229;

Chandler v. District of Columbia, 404 A.2d 964, 966 (D.C. 1979).

Immunity is vital in this context because of the necessity of

freeing policy decisions from jury speculation.           Id.

        Highway planning and design decisions are considered

discretionary in the District and therefore are not a basis for

suit.     Pace, 498 A.2d at 229; District of Columbia v. North

Washington Neighbors, Inc., 367 A.2d 143, 148 n. 7 (D.C. 1976);

Urow v. District of Columbia, 316 F.2d 351 (D.C. Cir. 1963).             As

Plaintiff concedes, Plaintiff could not bring suit against the

District under District law.

        In contrast, Maryland courts have held that counties and

municipalities may be found liable for construction, maintenance

and control of their roads.       Montgomery County v. Vorhees, 86 Md.

App. 294 (Md. Ct. Spec. App. 1991); Tadger v. Montgomery County,

300 Md. 539 (Md. Ct. Spec. App. 1984); Godwin v. County

Commissioners of St. Mary’s County, 256 Md. 326 (Md. Ct. Spec.

App. 1970).     This liability is an exception to the general rule

that counties and municipalities share in the state’s immunity

from suit.     Tadjer, 300 Md. 539.       Accordingly, Plaintiff could

likely bring suit against the District under Maryland law.

        Given the difference in Maryland and District law,



                                      7
     Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 8 of 12



Plaintiff’s ability to bring suit turns on whether District law

violates Maryland public policy to an extent sufficient to

overrule the principle of lex loci delicti.

     The choice of law in this case has its greatest effects on

the District.   As a matter of public policy, the District has

made the decision to bar suits challenging the design of its

highways.   Applying Maryland law in all cases in which Maryland

residents are injured on District roads undermines this policy,

and would allow Maryland law to settle questions of District

policy.   In contrast, the decision to apply District law in

Maryland does not disturb Maryland’s decision to make its

counties and municipalities liable for injuries sustained by

drivers on its roads.

     Although it can be argued that applying District law, and

therefore barring Plaintiff from bringing suit, violates

Maryland’s policy of allowing injured Marylanders to seek

recovery for their injuries, Maryland and the District provide

substantial immunity for discretionary acts of local government.

Although Maryland allows suits against counties and

municipalities for highway maintenance and control, this is a

narrow exception to Maryland’s general rule of immunity and is

provided by Maryland case law rather than by statute.        As a

result, it is difficult to argue that Maryland’s public policy

interests are powerful enough to overrule the well established

                                   8
      Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 9 of 12



principle of lex loci delicti.

      Accordingly, the Court will apply the law of the District.

As the law in the District bars suits challenging roadway

planning and design, the District’s motion to dismiss Count III

will be granted.




B.   The United States’ Motion to Dismiss

      In Count V of the Complaint, Plaintiff alleges that the

United States was negligent in the design and planning of I-295.

Plaintiff has brought suit under the Federal Tort Claims Act

(FTCA) which provides a limited waiver of the United States’

sovereign immunity for claims grounded in tort.         Bowman v. United

States, 820 F.2d 1393 (4th Cir. 1987). The United States argues

in response that Count V should be dismissed because: 1)

Plaintiff’s claims are barred for failure to exhaust

administrative remedies; 2) Plaintiff’s claims are barred by the

discretionary function exception to the FTCA; and 3) the United

States owed no actionable duty to Plaintiff under District law.




1.   The Discretionary Function Exception to the FTCA

      According to 28 U.S.C. 2680(a), the FTCA’s waiver of

sovereign immunity does not apply to:

      the exercise or performance or the failure to exercise or

                                    9
      Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 10 of 12



      perform a discretionary function or duty on the part of a
      federal agency or an employee of the government, whether or
      not the discretion involved be abused.

28 U.S.C. § 2680(a).

      The exception is intended to prevent “judicial second-

guessing of legislative and administrative decisions grounded in

social, economic and political policy.”        United States v.

Gaubert, 499 U.S. 315, 323 (1991).

      The Supreme Court has established a two-step test to

determine whether an action is excepted from the FTCA’s waiver of

immunity.   Id.   Cope v. Scott, 45 F.3d 445, 448 (D.C. Cir. 1995).

First, the governmental action must involve an element of choice.

Id.   Therefore, if a federal statute or regulation specifically

prescribes a course of action, the discretionary function

exception does not apply.      Id.   Second, assuming that an element

of choice is involved, the discretionary acts must be based on

considerations of public policy and therefore must involve an

exercise of political, social or economic judgment.          Id.

      Plaintiff concedes that her “direct claims for negligent

design and construction are barred by § 2680(a).”         Plaintiff’s

Opposition, p. 5.    However, Plaintiff maintains that the decision

not to install guardrails or warning signs on I-295 was not based

on considerations of public policy and therefore was not a

discretionary decision excepted from the FTCA.


                                     10
       Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 11 of 12



       There is no allegation that the United States controlled or

owned I-295.     Apparently the United States provided the District

funding for highway construction under the Federal-Aid Highway

Act.   23 U.S.C. §§ 101 et seq.      Under the Federal-Aid Highway Act

states seeking highway funding submit plans, specifications and

cost estimates to the Department of Transportation (“DOT”) which

then decides whether to fund the project.         23 U.S.C. 106(a).      The

DOT makes its decision based on the “best overall public

interest” and in consideration of the need for “for fast, safe

and efficient transportation.”       23 U.S.C. 109.     Such a decision

is clearly based on considerations of public policy and involves

the exercise of political, social or economic judgment.           Rothrock

v. United States, 62 F.3d 196 (7th Cir. 1995)(DOT decision to

fund highway project held to be discretionary in suit involving

an accident caused by the absence of a guardrail); Miller v.

United States, 710 F.2d 656 (10th Cir. 1983)(DOT funding decision

discretionary in suit involving an accident caused by a narrow

shoulder and the absence of a guardrail); Daniel v. United

States, 426 F.2d 281 (5th Cir. 1970)(DOT funding decision

discretionary in suit involving an accident caused by the design

of a lane separator); First National Bank of Effingham v. United

States, 565 F.Supp. 199 (S.D. Ill. 1983)(DOT funding decision

discretionary in suit involving an accident caused by the design

of a guardrail and berm).


                                     11
     Case 1:04-cv-04068-WDQ Document 45 Filed 11/07/05 Page 12 of 12



     Accordingly, the Department of Transportation’s decision to

fund I-295 was discretionary, and as such, is excepted from the

FTCA’s waiver of sovereign immunity.      Accordingly, Count V of the

Complaint will be dismissed.




November 7, 2005                                /s/
Date                                    William D. Quarles, Jr.
                                        United States District Judge




                                   12
